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                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA


       In re: Moen, Gerald L                                          §    Case No. 13-50747-RJK
              Moen, Lynn M                                            §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Nauni Jo Manty, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $138,173.00                          Assets Exempt: $46,276.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$11,093.19            Claims Discharged
                                                       Without Payment: $23,920.00

 Total Expenses of Administration:$2,810.61


         3) Total gross receipts of $     60,087.97      (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $    46,184.17 (see Exhibit 2   ), yielded net receipts of $13,903.80
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                         $179,910.00             $0.00               $0.00             $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00           2,810.61          2,810.61           2,810.61

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                  1,100.00               0.00               0.00                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                     32,642.00          11,093.19          11,093.19         11,093.19

                                          $213,652.00         $13,903.80         $13,903.80        $13,903.80
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on September 15, 2016.
  The case was pending for 33 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 05/22/2019                 By: /s/Nauni Jo Manty
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                           UNIFORM                               $ AMOUNT
              DESCRIPTION
                                                                                          TRAN. CODE 1                           RECEIVED
     Personal Injury case against Pharmaceutical comp                                     1242-000                                 60,087.97


    TOTAL GROSS RECEIPTS                                                                                                          $60,087.97

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                               $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                          TRAN. CODE                                PAID
 Gerald L Moen                                    Debtor's exemptions claims
                                                  for personal injury
                                                  recovery, Ntc Sttlmt No. 16             8100-002                                 35,001.00

 Moen, Gerald L                                   Dividend paid 100.00% on
                                                  $11,183.17; Claim# SURPLUS;
                                                  Filed: $11,183.17;
                                                  Reference:                              8200-002                                 11,183.17

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                          $46,184.17
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS          CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED           PAID
                                                       CODE                6D)
 NOTFILED         21st Mortgage                        4110-000              50,000.00            N/A                   N/A                     0.00

 NOTFILED         Fifth Third Bank                     4110-000              19,610.00            N/A                   N/A                     0.00

 NOTFILED         Wells Fargo Auto Finance             4110-000                5,300.00           N/A                   N/A                     0.00

 NOTFILED         US Bank Home Mortgage                4110-000             105,000.00            N/A                   N/A                     0.00


    TOTAL SECURED CLAIMS                                                   $179,910.00                  $0.00            $0.00                 $0.00




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EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                         UNIFORM
    PAYEE                                                CLAIMS              CLAIMS              CLAIMS          CLAIMS
                                          TRAN.
                                                        SCHEDULED           ASSERTED            ALLOWED           PAID
                                          CODE
 Trustee Compensation - Nauni Jo Manty         2100-000            N/A              2,140.38       2,140.38        2,140.38

 Trustee Expenses - Nauni Jo Manty             2200-000            N/A                  77.43         77.43             77.43

 Clerk of the Court Costs (includes            2700-000            N/A                 260.00       260.00             260.00
 adversary and other filing fees) - U.S.
 Other - Rabobank, N.A.                        2600-000            N/A                  28.15         28.15             28.15

 Other - Rabobank, N.A.                        2600-000            N/A                  48.86         48.86             48.86

 Other - INTERNATIONAL SURETIES, LTD           2300-000            N/A                   9.37          9.37              9.37

 Other - Rabobank, N.A.                        2600-000            N/A                  42.86         42.86             42.86

 Other - Rabobank, N.A.                        2600-000            N/A                  47.22         47.22             47.22

 Other - Rabobank, N.A.                        2600-000            N/A                  76.53         76.53             76.53

 Other - Rabobank, N.A.                        2600-000            N/A                  45.90         45.90             45.90

 Other - Rabobank, N.A.                        2600-000            N/A                  33.91         33.91             33.91

 TOTAL CHAPTER 7 ADMIN. FEES                                 N/A                  $2,810.61       $2,810.61       $2,810.61
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                         UNIFORM
    PAYEE                                                CLAIMS              CLAIMS              CLAIMS          CLAIMS
                                          TRAN.
                                                        SCHEDULED           ASSERTED            ALLOWED           PAID
                                          CODE
                                                      None

 TOTAL PRIOR CHAPTER ADMIN.                                  N/A                       $0.00         $0.00              $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                         UNIFORM         CLAIMS              CLAIMS
   CLAIM                                                SCHEDULED           ASSERTED             CLAIMS          CLAIMS
    NO.           CLAIMANT                TRAN.           (from Form       (from Proofs of      ALLOWED           PAID
                                          CODE                6E)               Claim)
 NOTFILED   MN Department Of Revenue       5200-000             1,100.00         N/A                N/A                  0.00
            Bankruptcy Department
 TOTAL PRIORITY UNSECURED                                      $1,100.00               $0.00         $0.00              $0.00
 CLAIMS




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EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                         UNIFORM     CLAIMS              CLAIMS
   CLAIM                                            SCHEDULED           ASSERTED             CLAIMS          CLAIMS
    NO.           CLAIMANT                TRAN.     (from Form         (from Proofs of      ALLOWED           PAID
                                          CODE          6F)                 Claim)
      1     Essentia Health              7100-000              45.00               886.41        886.41            886.41

      1I    Essentia Health              7990-000       N/A                         11.66         11.66             11.66

      2     Capital One Bank (USA), N.A. 7100-000          3,085.00             3,136.49       3,136.49         3,136.49

      2I    Capital One Bank (USA), N.A. 7990-000       N/A                         41.24         41.24             41.24

      3     Wells Fargo Bank, N.A.       7100-000          2,598.00             2,660.47       2,660.47         2,660.47

      3I    Wells Fargo Bank, N.A.       7990-000       N/A                         34.98         34.98             34.98

      4     Capital One, N.A.            7100-000          1,956.00             2,058.64       2,058.64         2,058.64

      4I    Capital One, N.A.            7990-000       N/A                         27.07         27.07             27.07

      5     Capital One, N.A.            7100-000              51.00                76.09         76.09             76.09

      5I    U.S. Bankruptcy Court -      7990-001       N/A                          1.00          1.00              1.00
            Capital One, N.A.
      6     Portfolio Recovery           7100-000          2,087.00             2,086.12       2,086.12         2,086.12
            Associates, LLC
      6I    Portfolio Recovery           7990-000       N/A                         27.43         27.43             27.43
            Associates, LLC
      7     Essentia Health              7200-000       N/A                         45.00         45.00             45.00

      7I    U.S. Bankruptcy Court -      7990-001       N/A                          0.59          0.59              0.59
            Essentia Health
 NOTFILED   MN Department Of Revenue     7100-000       unknown              N/A                 N/A                 0.00
            Bankruptcy Department
 NOTFILED   Essentia Health              7100-000          1,140.00          N/A                 N/A                 0.00

 NOTFILED   Cardmember Service           7100-000          8,284.00          N/A                 N/A                 0.00

 NOTFILED   Hermantown Federal Credit    7100-000             981.00         N/A                 N/A                 0.00
            Union
 NOTFILED   US Bank Cardmember Service   7100-000          9,338.00          N/A                 N/A                 0.00

 NOTFILED   Paypal Buyer Credit          7100-000              71.00         N/A                 N/A                 0.00

 NOTFILED   Mayo Clinic                  7100-000          3,006.00          N/A                 N/A                 0.00

 TOTAL GENERAL UNSECURED                                 $32,642.00          $11,093.19      $11,093.19       $11,093.19
 CLAIMS




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                                                                                                                                                                            Exhibit 8


                                                                                   Form 1                                                                                   Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 13-50747-RJK                                                                  Trustee:       (430120)      Nauni Jo Manty
Case Name:           Moen, Gerald L                                                        Filed (f) or Converted (c): 09/15/16 (f)
                     Moen, Lynn M                                                          §341(a) Meeting Date:        09/25/13
Period Ending: 05/22/19                                                                    Claims Bar Date:             04/24/17

                                1                                          2                          3                       4                    5                   6

                     Asset Description                               Petition/               Estimated Net Value         Property             Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                 Unscheduled          (Value Determined By Trustee,   Abandoned             Received by      Administered (FA)/
                                                                      Values               Less Liens, Exemptions,      OA=§554(a)             the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                Remaining Assets

 1        Homestead, Lot 6, Block 3, PROCTOR CENTRAL                      105,800.00                        0.00                                        0.00                     FA
          DIVIS

 2        Deposits of money: Checking and Savings- Republi                  1,300.00                        0.00                                        0.00                     FA

 3        Household Goods and Furnishings: TV, VCR, DVD,                    4,000.00                        0.00                                        0.00                     FA

 4        Clothing                                                             400.00                       0.00                                        0.00                     FA

 5        Womans band with 1/2 c and small stones, a band                      500.00                       0.00                                        0.00                     FA

 6        Ret. or Pension Acct.: 401k                                       1,773.00                        0.00                                        0.00                     FA

 7        Personal Injury case against Pharmaceutical comp (u)             56,000.00                   60,087.97                                   60,087.97                     FA
           Ntc Sttlmt No. 16

 8        Estimated portion of 2013 Federal, State, and Pr                     100.00                       0.00                                        0.00                     FA

 9        2001 Chevy S10 93k miles. Entire property value:                  8,500.00                        0.00                                        0.00                     FA

10        2011 Chevy Impala 47k miles.                                     15,800.00                        0.00                                        0.00                     FA

 10      Assets       Totals (Excluding unknown values)               $194,173.00                     $60,087.97                                  $60,087.97                  $0.00



      Major Activities Affecting Case Closing:

                  02/04/19: Cut distribution checks.
                  01/02/19: NFR efiled

      Initial Projected Date Of Final Report (TFR):       June 30, 2018                      Current Projected Date Of Final Report (TFR):       November 15, 2018 (Actual)




                                                                                                                                             Printed: 05/22/2019 04:38 PM     V.14.50
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                                                                                      Form 2                                                                                       Page: 1

                                                    Cash Receipts And Disbursements Record
Case Number:         13-50747-RJK                                                                      Trustee:            Nauni Jo Manty (430120)
Case Name:           Moen, Gerald L                                                                    Bank Name:          Rabobank, N.A.
                     Moen, Lynn M                                                                      Account:            ******3766 - Checking Account
Taxpayer ID #: **-***8212                                                                              Blanket Bond:       $26,510,000.00 (per case limit)
Period Ending: 05/22/19                                                                                Separate Bond: N/A

   1            2                             3                                           4                                            5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                   Description of Transaction                 T-Code              $                  $       Account Balance
04/06/18       {7}        Actos Settlement Fund                Payment pursuant to Notice of Settlement,          1242-000            30,910.36                                30,910.36
                                                               Doc. 16. PARTIAL PAYMENT
04/30/18                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                        28.15        30,882.21
05/31/18                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                        48.86        30,833.35
06/05/18      101         INTERNATIONAL SURETIES, LTD          BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                         9.37        30,823.98
                                                               BALANCE AS OF 06/05/2018 FOR CASE
                                                               #13-50747, Bond #: 016018054
06/29/18                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                        42.86        30,781.12
07/31/18                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                        47.22        30,733.90
08/07/18       {7}        Actos Settlement Fund                Deposit of hold back funds pursuant to GRG         1242-000              1,621.02                               32,354.92
                                                               Settlement
08/08/18       {7}        Ferrer Poirot & Wansbrough           Payment pursuant to GRG - Actos Settlement         1242-000            27,556.59                                59,911.51
                                                               Qualified Settlement Funds
08/22/18      102         Gerald L Moen                        Debtor's exemptions claims for personal injury     8100-002                                   35,001.00         24,910.51
                                                               recovery, Ntc Sttlmt No. 16
08/31/18                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                        76.53        24,833.98
09/28/18                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                        45.90        24,788.08
10/31/18                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                        33.91        24,754.17
02/04/19      103         Nauni Jo Manty                       Dividend paid 100.00% on $2,140.38, Trustee        2100-000                                    2,140.38         22,613.79
                                                               Compensation; Reference:
02/04/19      104         Nauni Jo Manty                       Dividend paid 100.00% on $77.43, Trustee           2200-000                                        77.43        22,536.36
                                                               Expenses; Reference:
02/04/19      105         U.S. Bankruptcy Court - Minneapolis Dividend paid 100.00% on $260.00, Clerk of          2700-000                                       260.00        22,276.36
                                                               the Court Costs (includes adversary and other
                                                               filing fees); Reference:
02/04/19      106         Essentia Health                      Dividend paid 100.00% on $886.41; Claim# 1;        7100-000                                       886.41        21,389.95
                                                               Filed: $886.41; Reference:
02/04/19      107         Capital One Bank (USA), N.A.         Dividend paid 100.00% on $3,136.49; Claim#         7100-000                                    3,136.49         18,253.46
                                                               2; Filed: $3,136.49; Reference:
02/04/19      108         Wells Fargo Bank, N.A.               Dividend paid 100.00% on $2,660.47; Claim#         7100-000                                    2,660.47         15,592.99
                                                               3; Filed: $2,660.47; Reference:
02/04/19      109         Capital One, N.A.                    Dividend paid 100.00% on $2,058.64; Claim#         7100-000                                    2,058.64         13,534.35
                                                               4; Filed: $2,058.64; Reference:
02/04/19      110         Capital One, N.A.                    Dividend paid 100.00% on $76.09; Claim# 5;         7100-000                                        76.09        13,458.26
                                                               Filed: $76.09; Reference:
02/04/19      111         Portfolio Recovery Associates, LLC   Dividend paid 100.00% on $2,086.12; Claim#         7100-000                                    2,086.12         11,372.14
                                                               6; Filed: $2,086.12; Reference:
02/04/19      112         Essentia Health                      Dividend paid 100.00% on $45.00; Claim# 7;         7200-000                                        45.00        11,327.14


                                                                                                        Subtotals :                  $60,087.97            $48,760.83
{} Asset reference(s)                                                                                                                           Printed: 05/22/2019 04:38 PM        V.14.50
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                                                                                    Form 2                                                                                         Page: 2

                                                   Cash Receipts And Disbursements Record
Case Number:        13-50747-RJK                                                                       Trustee:            Nauni Jo Manty (430120)
Case Name:          Moen, Gerald L                                                                     Bank Name:          Rabobank, N.A.
                    Moen, Lynn M                                                                       Account:            ******3766 - Checking Account
Taxpayer ID #: **-***8212                                                                              Blanket Bond:       $26,510,000.00 (per case limit)
Period Ending: 05/22/19                                                                                Separate Bond: N/A

   1            2                            3                                          4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                   Description of Transaction                  T-Code              $                  $       Account Balance
                                                              Filed: $45.00; Reference:
02/04/19      113        Essentia Health                      Dividend paid 100.00% on $11.66; Claim# 1I;         7990-000                                       11.66         11,315.48
                                                              Filed: $11.66; Reference:
02/04/19      114        Capital One Bank (USA), N.A.         Dividend paid 100.00% on $41.24; Claim# 2I;         7990-000                                       41.24         11,274.24
                                                              Filed: $41.24; Reference:
02/04/19      115        Wells Fargo Bank, N.A.               Dividend paid 100.00% on $34.98; Claim# 3I;         7990-000                                       34.98         11,239.26
                                                              Filed: $34.98; Reference:
02/04/19      116        Capital One, N.A.                    Dividend paid 100.00% on $27.07; Claim# 4I;         7990-000                                       27.07         11,212.19
                                                              Filed: $27.07; Reference:
02/04/19      117        Portfolio Recovery Associates, LLC   Dividend paid 100.00% on $27.43; Claim# 6I;         7990-000                                       27.43         11,184.76
                                                              Filed: $27.43; Reference:
02/04/19      118        Moen, Gerald L                       Dividend paid 100.00% on $11,183.17; Claim#         8200-002                                   11,183.17                1.59
                                                              SURPLUS; Filed: $11,183.17; Reference:
02/04/19      119        U.S. Bankruptcy Court                COMBINED SMALL CHECK                                                                                1.59                0.00
                                                                 Dividend paid 100.00%                 1.00       7990-001                                                            0.00
                                                                 on $1.00; Claim# 5I;
                                                                 Filed: $1.00
                                                                 Dividend paid 100.00%                 0.59       7990-001                                                            0.00
                                                                 on $0.59; Claim# 7I;
                                                                 Filed: $0.59

                                                                                   ACCOUNT TOTALS                                     60,087.97              60,087.97               $0.00
                                                                                             Less: Bank Transfers                           0.00                  0.00
                                                                                   Subtotal                                           60,087.97              60,087.97
                                                                                             Less: Payments to Debtors                                       46,184.17
                                                                                   NET Receipts / Disbursements                      $60,087.97            $13,903.80



                                                                                                                                         Net              Net                  Account
                                                                                   TOTAL - ALL ACCOUNTS                                Receipts      Disbursements             Balances

                                                                                   Checking # ******3766                              60,087.97              13,903.80                0.00

                                                                                                                                     $60,087.97            $13,903.80                $0.00




{} Asset reference(s)                                                                                                                           Printed: 05/22/2019 04:38 PM        V.14.50
